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                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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      SELINA KEENE, MELODY FOUNTILA,          )           Case No.: 4:22-cv-01587-JSW
11    MARK MCCLURE,                           )
                                              )           [PROPOSED] ORDER RE:
12          Plaintiffs,                       )           DEFENDANT’S ADMINISTRATIVE
                                              )           MOTION TO ENLARGE TIME AND
13   v.                                       )           ALLOW EXPEDITED DISCOVERY
14                                            )
     CITY AND COUNTY OF SAN                   )
15   FRANCISCO; LONDON BREED, Mayor of )                  Date: July 30, 2023
     San Francisco in her official capacity;  )           Time: 9:00 AM
16                                                        Judge: The Honorable Jeffrey S. White
     CAROL ISEN Human Resources Director,     )
     City and County of San Francisco, in her )
17
     official capacity; DOES 1-100,           )
18                                            )
           Defendants.                        )
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     _________________________________________________________________________________________________________
                                                [PROPOSED] ORDER
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       Case 4:22-cv-01587-JSW Document 84-1 Filed 06/30/23 Page 2 of 2




 1                                          [PROPOSED] ORDER
 2          The Court finds as follows:
 3          Defendant failed to exercise due diligence by not asking for discovery prior to this Court’s
 4   initial ruling in this matter. It has also failed to show what discovery it needs by not informing the
 5   Court of exactly what facts they seek or how those facts would help it in the forthcoming hearing.
 6   Defendant has not established good cause to grant their Administrative Motion.
 7          For the above reasons, Defendant’s Administrative Motion is DENIED.
 8          DATE:
 9                                                  THE HONORABLE JEFFREY S. WHITE
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     _________________________________________________________________________________________________________
                                                [PROPOSED] ORDER
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